               Case 2:07-cr-20051-PKH Document 58                                            Filed 12/03/08 Page 1 of 6 PageID #: 125
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                                                UrurrnpS"t'e'rgs
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                            WL]S]'[RN                                            Dish'ictof                               ARKANfiAS
            UNIIED 51^ I'T]S
                           OFAMERICA                                                        ,IUI)GMENT IN A CRIMINAL CAS}I]
                                   v.
                       A I J I ) R E YH E F L I N                                           CnscNutrber:                          I -002
                                                                                                                         ?;07tlR?005
                                                                                            USM NLtntbcr:                080.30-010


.I'HT;]
     DEFENDANT:
X p l c a d c d g u i l t y t o c o u n t ( s )O n e ( l ) o f t h e l n d i c t m c n t oM
                                                                                          n 4y8,2008

n pleadcdnolocontendere
                      to cornt($)
  whichwnsacceptedby the court.
! wasfbundguiltyon oount(s)
  aftcra pleaofr)01guilty.
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     hc dcltndantis adjudicttedgui)tyoftheseoffrnscs;

'l
     itle & Section                      NitlgrI_A&ISe                                                                   OffcnsclJnrlrd            Count

?l U,S.U.$$ 8al(a)(I )                        Distributiondf Mcthamphetamine;
                                                                           AidingandAbetting                               07/ll/200?                   I
a n d( b X l X c ) ; 8 4 6 ;l 8 [ J . S . C l ,
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                                      (luidelinegwereconsidered
statutorytflngetnd the tl,S, Sentencing                       asndvisory.

fJ l he dtfcndanthasbeenfoundnot guilty on count(s)

X Count{s)                   Thret (l) nndFour (4)                   E is         X rrre dismissed
                                                                                                 on rhemorionof t}e UniredSrarcs

         lt is orderedtharthe defendant  nrustnotifothe UniLcdStates  attorneriLr rhis distfictwirhin l0 davsof anl chancco{ rame.residence-
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            Case 2:07-cr-20051-PKH Document 58                                       Filed 12/03/08 Page 2 of 6 PageID #: 126
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            Sheet2 - lmprisonmEnt

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DEI.-ENDANT:                      A U D R E YI I E F L I N
(]NSh;NL]MBEI(:                   ?:07LlR?005    l-002


                                                                      IMPRISONMENT

       The defendant                  to thecustodyof thc LlnitcdStatesBureauof Prisonsto be inrprisoned
                   is herebycornrnitted                                                                for a
totaltcrmol:     €ighteen(18)morths




        'l'he
  f,J                                                      to thc BuroauofPrisons:
                coufi Inakesthe following reconrnrcrtdrttions




  n     Thc dcl'cndantis rcmandcdto the custodvofthe United StrrtesMarshal-

  !     j he defendafllshnll suncndcl h) th(j tlnited StatesMarshalfor ttris tlistrict:

        O a t                                              n     a.nr.   E   p,nr,    oll

        !        fls r)otifiedby the LlnitedStatcsMarshal.

  X                               for scrviccof sentence
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        l he defendsnt                                 at the i0stitutio designntcd
                                                                                  by thc Burcauof Prisorrs:

        X        beforeI p,rn.orl            Fcbruarv3. 2009

        !        ru notificd by thc lJnitcd StatesMarshal.

        n        asnotifiedlty the Probntionor PrctrialScrvicesOffice,



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                Case 2:07-cr-20051-PKH Document 58                        Filed 12/03/08 Page 3 of 6 PageID #: 127
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         ] I]MBI,R:            2:07CR?0051-00?
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LJponreleaset-nrnr
                 inrprisonment,          shallbe on supcwiscdrclctscl'ord tern of:
                             the defendant                                                           threr (J) ymrs




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     defendantshallrot commitandtherfederul,stateor l'.rcal crinre,
 l he defendantshallnot unlawlullvDossess  a controlledsuhstance. The defcndant shallrcl'rainliom nnv unlnwftrluseof a controlled
r rbstflnsc.The defendant slall suibmitto one drugtcntwithin l5 days'JIreletsefront intprisonnrentanilat leasttwo ]]eriodicdrugtcsts
thereafter,as detenrriucdby thc court.
 !         Thc abr:vcclrugtesli g conditionis susD€nded,                               thflttheddfe dflfitposesa low riskof
                                                       basedon thc court'$dctcrminfltion
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 X            hr delendnnt               a tileamr,anrnrunition,
                         shrll not possess                    dcstruotivcdcvicc,or tmy otherdflngerousweapon,(Check,ifapplicablc)

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           student,asdirectedhy theprobationolficcr (Llhcok,ilapplicrrble.)
{:J                   shallparticipatc
           The defendant                                               violence.(Check,ifapplicablc.)
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                    sticctdl' this iudgrtrent.
     Thc dcfcqdnntmustcornplywith the standnrd        thathaveheenadoptedhy this courtaswell aswith nny Hdditional
                                             conditions                                                         co ditions
on the rrttflchedDilce.

                                          STANDARD CONDITIONS OF SUPERVISION
      I)                 shflllddt lenvethe.judiciaI d istrictwithoutthe pernrissionof the coun or prohationofllcer;
            thc dcl'cndrurt
      2)               shnllrcponto the prnbationoflicerandshallsubmita truthfll andcomplctcwrittcnrcportwithin the first five drys of
            the.defendurt
            eachmonthl
      3)                                                                                                   ofthe prohationofliccr,
            thedcllnddntshallnnswertruthfirllyall inquiriesby the probotionoflicerandfollorvthe instructions
     4)     thc dcf-cndant
                        shflllsupporthis dr her dependents
                                                        rnd nteetotherfnmilyresponsibilities:
      5)    thc dcfbndantshallwork regularlyr:11
                                              fi lflwlul occuFfltiofi,
                                                                    unlessexcusedby the probationofficerfor schooling,
                                                                                                                     training,or othcr
            acceDtable
                     rcirsons:
      6)    thc dcfcndnntshallnotily thc prdb$tidn'iffiderflt lcusllerldrtyspriorto any thnngein residence
                                                                                                         or employrlent;
      7,    thedcfcndantshallrctiain from cxccssive
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                              or flnypalrpherntliarelrrted
            controllcdsrLbstancc                                                    iicept aiprescribedby a physicianl
                                                         td rrnyconrr'llledsub'stances.
      8)    thc dcfcndnt shtll not liequefltplaceswhereconkolledsrrbstances
                                                                         areillegnllysold,used,distributed,
                                                                                                         or adnlinistered;
      9)    thedefendant                 with.anypersonsengagedin c_rirninal
                        shnllnot *ssociate                                                               with amypersorr
                                                                              nctivityandshallnot associate           corrvicted
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            felony,unlessglantedpenrrissionto do so hy the probaiionoflicer';
     l0)                shallpcrmita probationu lfiocr Lovisit hinror hcr nt nnytirncnLhonruor eIsewhere
            thc dcfcndant                                                                              rnr'lshnll pernritconfiscation
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            contrubandobservedin plairiview ofthe probationofficer:
     II)              shallnotifytheprobatiot)
            thcdelendnnl                                                              or questioned
                                            officerwithi sevenrylwohoursofbeingarrested           by a law cnlirrccnrcnt
                                                                                                                      officcr;
     l2)    thc dcf'L'ndanl
                          shallnot cntsr into any flgrccmcntlo act fl5Hninlumrcror n spcoi{lngentof n law enforcernert
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            Dcrnrissiondf thL'courliflrtd
     l3)    nsdirectedbv theurobationof'ficer.thedefendant
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            recordor peisonalhistoryor clraiacteristics
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            defendantrscompliancF!iith suchnotilicationrcquircmi:nt.
           Case 2:07-cr-20051-PKH Document 58                           Filed 12/03/08 Page 4 of 6 PageID #: 128
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CASENUMBER:                2 : 0 7 C R 2 0 0l -50 0 2

                                           SPECIAL CONDI'I'IONSOF SIIPERVISION

I.   Thedefendant  shallsubnrithis oerson.rcsidencc,placcofcnrulovnrent. andvehicleto B seflrchconducredbv rhc UnitcdStatcs
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     corrdition    'Fnilurc release,lhedefertdilnllhall wnrn nnyothcrresiddnts
              ofsupervised                                                    thattheirprern]ses              to s!'archpursun-nt
                                                                                                msy be sub.ject                 to
     thiscontlition.       1osubnritto fl scarchnrayhe Arounds'forrevocntion,
2 . The defendont
               shallsubnritto drug testingtrsdircctcdby thc probationofticer.
3 , '['hedefendant
                shallnot oblainany ncw lincsofcredit until the fine is paidin full.
     'l'hr:
4.         dct'cndantshall make any intbrnrationconcertrittghis fitrarrciIrlslatusavlilahle t$ the probltion officer upon rcqu':st.
               Case 2:07-cr-20051-PKH Document 58                                   Filed 12/03/08 Page 5 of 6 PageID #: 129
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                  Judsmcnt
                                        Pcnaltics
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                        Assessmcnt                                          Fhre                               R€slitution
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 fl   The determinntionofrestitutionis dclirrreduntil                     An ,4nenlcd ,IltdEt*lnt in    t.i o'lnrrl Crrse(AO 245C)will be Errlercd
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      'fhc
 n           dctcndantnust rnskcrcstitution(includingcornnrunity          to the followingpayeesin the nxruDtlisredbelo\ry,
                                                               iestitution)

      ll rhc defendflntrnflkcsd DBrtialFavfile!lt.cachnsyeeshnll rrccive an approxinatrly proDotliorredpnynrent,urrlesssptcilicd otherwisein
                   ordero-rpercentaetc
      rlre-priority.                    iraynrentroluninbclow. Howevcr,pursuantro l8-tJ-S.C.$ 3664(i).nll nonfbderal    Victirnsmustbe paid
      DeTole  tne ljnltcd irlalesls D{lld.

 Name of Prycc                                 Total Loss*                            Re6titutionOIdEred               I'riolity   {.,r Pfl'celt{gc




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       Rcstitution

 tr                  fi)ustpay interestolr rcstitutionand n {inc of morethrrr $2,500.unlessthe rcstitutionor fine is paid in tull beforcthc
       Thr dclbr)dar)t
       fillccnthdayafterthcdateofthejudgnrcnt,pursuantt{Jl8 (I.S,(:.$ 1612(0. All ofthe paymerrt       optionson Shcct6 rnaybe subjcct
       10Fcnaltiesfor delinqucncy  anddefffult,pursuantto l8 U.S-C.$ l6l2(g).
       'I
            hc court detern:iredthat the defendtmtdocs not hflvethc dhility to pfly intcrestand it is ordcredthat:

       X      the iflt$r$strequirenentis \aailed for tht       X       fine   fll   restitutiorr.

       n       the intcrcstrequirement
                                    for the         n   finc       n               is nrotlificdaslbllows:
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              Case 2:07-cr-20051-PKH Document 58                                                           Filed 12/03/08 Page 6 of 6 PageID #: 130
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                thc defe[dsdt's al]ility td pay, Iaynrcnt af the tl]tsl crirninsl rnonetsrypenflltiesale dur as lirllous:
I ltving assessed

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                          (e.9,,lronthsor ycars),to commence_               (*.g.,30 or 60 days)ailer thedateof thisjudgr ent;or

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        tr Payntcntduringth$tcrnrofsupcrvisedrelcasewill conurencewithir _                 (e,g.,l0 or 60 days)atterrclcasefrom
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                          Thc courtwill setthe pflynrent                        r)f the defcDdant's $bilityto payrt lhattinre;dr

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!      Jointnnd$evernl

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       and correspondingprtycc,if appropriate,




fJ                 shallpdythecostdt prosecution.
       Thc defer)dnnt

n       I hc det'endadt
                     shallpnythe fbllo\a-ing
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E      The defeddHnt
                  shallforlcitthe dcicndar)t's
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